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Attorneys for Plaintiff

                     UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF IDAHO

  JOHN DOE,

                           Plaintiff,
                                          Case No.:
        v.

  LAWRENCE WASDEN, Attorney               COMPLAINT FOR
  General of the State of Idaho; KED      DECLARATORY AND
  WILLIS, Colonel of the Idaho State      INJUNCTIVE RELIEF
  Police, LELIA MCNEIL, Bureau Chief
  of the Idaho State Police Bureau of
  Criminal Investigation; and THE
  INDIVIDUAL MEMBERS OF THE IDAHO
  CODE COMMISSION, all of the above in
  their official capacities,


                           Defendants.
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                                Nature of Action

      1.     In 2003, the Supreme Court held that the right to engage in certain

intimate sexual conduct, historically known as sodomy, is constitutionally

protected pursuant to the Fourteenth Amendment as a matter of substantive due

process. See generally Lawrence v. Texas, 539 U.S. 558 (2003). In Lawrence, the

Supreme Court explicitly overruled its prior precedent, Bowers v. Hardwick, 478

U.S. 186 (1986), that had held that such intimate sexual conduct received no

constitutional protection. Lawrence, 539 U.S. at 578. In the words of the Court,

Bowers—a facial challenge to Georgia’s sodomy prohibition—“was not correct

when it was decided, and it is not correct today. It ought not to remain binding

precedent. Bowers v. Hardwick should be and now is overruled.” Id. In so doing,

the Supreme Court facially invalidated all sodomy statutes, including Idaho’s.

      2.     Despite this clear proclamation made nearly two decades ago, Idaho

continues to enforce its criminal statute prohibiting sodomy, titled Crime

Against Nature, Idaho Code § 18-6605. Specifically as to this case, it requires

people convicted of Crime Against Nature to register as sex offenders and suffer

myriad, onerous prescriptions on their everyday life pursuant to Idaho’s Sexual

Offender Registration Notification and Community Right-to-Know Act, Idaho

Code § 18-8301 et seq. (“registration law”). Idaho also requires people convicted of

violating sodomy prohibitions in other jurisdictions to comply with Idaho’s

registration law, whether or not those prohibitions are registerable offenses in

the original jurisdiction. This is so despite the fact that Idaho’s Crime Against




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Nature statute is indistinguishable from the sodomy statutes struck down as

facially unconstitutional by the Supreme Court in Lawrence.

      3.     Idaho’s sex offender registration law places numerous requirements

upon the public and personal lives of registrants. Registrants’ pictures and

personal information are displayed on a publically-accessible state website.

Registrants are forced to relinquish a trove of personal information and face

restrictions on where they can live and even wander.

      4.     John Doe has been forced onto the Idaho Sex Offender Registry for

a conviction from before Lawrence under another state’s Crime Against Nature

statute that Idaho deems equivalent to a conviction for Idaho’s Crime Against

Nature statute, I.C. § 18-6605. He is subject to sex offense registration

restrictions pursuant to a facially unconstitutional statute. He suffers severely

under the sex offender label, which imposes a significant barrier to finding

employment and participating in his community, and involves the state in the

daily management of his life.

      5.     Doe brings this action to prevent the continued application and

enforcement of Idaho’s Crime Against Nature prohibition, I.C. § 18-6605.

Specifically, Doe seeks a declaration that 1) Idaho’s Crime Against Nature

prohibition, I.C. § 18-6605, is facially unconstitutional as to activity between

human beings and as applied to Doe; 2) the portion of Idaho Code § 18-8304(1)(a)

which makes Crime Against Nature an offense subject to Idaho’s registration

law, is facially unconstitutional as to activity between human beings and as

applied to Doe; and 3) the portion of Idaho Code § 18-8304(1)(b) which requires

registration for convictions from other jurisdictions which are substantial


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equivalents to a conviction for Idaho’s Crime Against Nature statute is facially

unconstitutional as to activity between human beings and as applied to Doe. Doe

seeks injunctive relief against state and county officials from continuing to

enforce the above-enumerated statutes compelling Defendants to remove Doe

from the Sex Offender Registry, expunge all records signaling his past inclusion

on the registry, and/or enjoining Defendants from administering and enforcing

the registry law as to Crime Against Nature convictions or out-of-state

equivalents and as to Doe.

                                      Parties

Plaintiff

      6.     John Doe is a resident of Idaho.

Defendants

      7.     Lawrence Wasden is the Attorney General of Idaho. As Attorney

General, Wasden oversees the enforcement of Idaho’s criminal statutes. He is

sued in his official capacity and resides in Idaho.

      8.     Ked Willis is the Colonel of the Idaho State Police (“ISP”). The ISP

is vested with authority to enforce Idaho’s Sexual Offender Registration

Notification Act, I.C. § 18-8301 et seq. He is sued in his official capacity and

resides in Idaho.

      9.     Lelia McNeil is the Bureau Chief of the ISP Bureau of Criminal

Investigation (“BCI”). The BCI is responsible for administering and maintains

the Idaho Sex Offender Registry. To facilitate both registration and its

enforcement, employees within the BCI communicate with both federal and

other state agencies, offices and contractors regarding offender information,


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including the Federal Bureau of Investigation, the U.S. Marshals Service,

jurisdictions to and from which individuals registered in Idaho move, and Idaho

law enforcement. In addition to maintaining the online registry, BCI is also the

state agency that disperses information about the registry to the public. McNeil

is sued in her official capacity and, on information and belief, resides in Idaho.

      10.    The individual members of the Idaho Code Commission (Defendants

Daniel Bowen, Andrew Doman, and Jill Holinka) are also sued in their official

capacity and all reside in Idaho. The Idaho Code Commission is an office of the

Secretary of State established by statute. Idaho Code §§ 73-201–73-221. The

Commission’s purpose is to keep the Idaho Code up to date by indicating changes

to laws, including constitutional changes, and providing annotations, and the

Commission has all power and authority necessary to accomplish that purpose.

It has the specific power to keep the Idaho Code up to date, to provide

annotations to the Code, and to provide references in the Code to decisions of the

federal courts. Idaho Code § 73-205. These Defendants are referred to in this

Complaint collectively as the “Idaho Code Commission Defendants.”

      11.    Each of the Defendants is a person within the meaning of 42 U.S.C.

§ 1983 and acted and continue to act under color of state law as to the allegations

in this complaint.




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                             Jurisdiction and Venue

        12.   Doe’s claims are brought pursuant to 42 U.S.C. § 1983 and under

the Fourteenth Amendment to the United States Constitution.

        13.   This Court has jurisdiction to hear Doe’s claims pursuant to 28

U.S.C. §§ 1331, 1343 and the Declaratory Judgment Act, 28 U.S.C. §§ 2201,

2202.

        14.   Venue is proper in the United States Court for the District of Idaho

under 28 U.S.C. § 1391(b)(2) because Doe resides in this judicial district, and

because a substantial part of the acts that gave rise to this lawsuit occurred

principally in this judicial district. This District is also an appropriate venue

under 28 U.S.C. § 1391(b)(1) because Defendants reside in this judicial district.

                               Statement of Facts

Statutory Overview

        15.   Idaho’s Crime Against Nature statute criminalizes consensual oral

and anal sex.

        16.   Idaho’s Crime Against Nature statute, I.C. § 18-6605, states, in full,

“[e]very person who is guilty of the infamous crime against nature, committed

with mankind or with any animal,1 is punishable by imprisonment in the state

prison not less than five years.”

        17.   Idaho’s prohibition on oral and anal sex has existed in virtually the

same form since Idaho was a territory. The revised codes of 1887 held that




1Doe confines his challenge to the portion of the Crime Against Nature statute
barring a “crime against nature[] committed with mankind” and does not
address the portion of the statute criminalizing sexual conduct “with any
animal.”
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“[e]very person who is guilty of the infamous crime against nature, committed

with mankind or with any animal, is punishable by imprisonment in the

Territorial prison not less than five years.” Ex parte Miller, 23 Idaho 403, 405,

129 P. 1075, 1075 (1913) (quoting sec. 6810, Rev. Stats. of 1887).

      18.    In 1913, the Idaho Supreme Court found that the punishment for

having oral or anal sex could not include execution but could include life

imprisonment. Id., 23 Idaho at 406, 129 P. at 1076.

      19.    From 1955 to 1957, the Crime Against Nature statute was the

primary legal tool for the “The Boys of Boise” affair—one of the most virulent

anti-gay witch hunts in American history. See generally John Gerassi, The Boise

of Boise: Furor, Vice, and Folly in an American City (2001); Bill Dentzer, How

did 1955 Boys of Boise scandal affect the city and Idaho?, Idaho Statesman (Oct.

24th 2015), available at https://www.idahostatesman.com/news/local/

article41367867.html. After questioning more than 1,500 people and convicting

15, the Idaho Supreme Court upheld the convictions in a series of three opinions.

In State v. Wilson, 78 Idaho 385, 388, 304 P.2d 644, 646 (1956), the Court

referred to the defendant’s consensual activity as a “crime committed against

society” and affirmed his sentence because he was “an habitual, persistent

homosexual offender.” In State v. Larsen, 81 Idaho 90, 98, 337 P.2d 1, 6 (1959),

the Court upheld the conviction after the defendant challenged the prosecutor’s

argument that “urged the jurors to enforce the law and to halt an outbreak of

homosexual practices in the city.” And in State v. Moore, 78 Idaho 359, 363, 304

P.2d 1101, 1103–04 (1956), that Court affirmed the denial of probation to one of

the defendants because “the State made a showing of various forms of


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homosexual activity on the part of the accused, extending over a period of twelve

or thirteen years.”

      20.    With the new criminal code in the early 1970s, Idaho enacted I.C.

§ 18-6605. Unchanged since the prohibition’s inception over a century ago (save

updating “Territorial” to “state” prison), I.C. § 18-6605 today continues to

prohibit sex acts traditionally associated with homosexuality—oral and anal sex.

      21.    Idaho’s Crime Against Nature statute is indistinguishable in all

material respects from the Texas and Georgia statutes declared unconstitutional

in Lawrence. The Texas statute at issue in Lawrence prohibited “engag[ing] in

deviate sexual intercourse with another individual of the same sex,” Tex. Penal

Code Ann. § 21.06(a) (2003), and defined “[d]eviate sexual intercourse” as “(A)

any contact between any part of the genitals of one person and the mouth or

anus of another person; or (B) the penetration of the genitals or the anus of

another person with an object.” Tex. Penal Code Ann. § 21.01(1) (2003). The

Georgia statute at issue in Bowers v. Hardwick, which Lawrence declared

facially unconstitutional, 539 U.S. at 578, prohibited “sodomy,” and defined

“sodomy” as “any sexual act involving the sex organs of one person and the

mouth or anus of another.” Official Code of Ga. Ann. (O.C.G.A.) § 16-6-2 (1984).

Idaho Registry Statute

      22.    Idaho passed the initial version of the Sex Offender Registration

Act in 1993. I.C. § 18-8301 et seq. (1993). Crime Against Nature was included as

one of the original ten registerable offenses. I.C. § 18-8303(1)(a) (1993).

      23.    In 1998, the Legislature repealed the original Sex Offender

Registration Act and replaced it with the “Sexual Offenders Registration


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Notification and Community Right-to-Know Act,” which, in amended form,

continues to operate today. I.C. § 18-8301 et seq. The Legislature intended the

new law to expand public access to registry information. I.C. § 18-8302. The new

law also included, and to this day includes, Crime Against Nature as a

registerable offense. I.C. § 18-8403(1)(a).

      24.    Idaho imposes registration requirements not only for people

convicted in Idaho for violating the Crime Against Nature statute, but also for

out-of-state crimes that Idaho deems a substantial equivalent to Idaho’s Crime

Against Nature statute. I.C. § 18-8304(1)(b).

      25.    Mandating sex offender registration for Crime Against Nature

convictions (or out-of-state convictions considered to be a substantial equivalent

of the Crime Against Nature Statute) requires registration for activity that is

squarely protected by the Fourteenth Amendment and pursuant to an

unconstitutional statute.

Registration Requirements

      26.    The information that offenders are required to report upon

registration is encyclopedic in scope. The list includes current and former names,

including nicknames, pseudonyms, and ethnic or tribal names; email addresses,

“instant messaging” address, and any other every online identity or screen name

used for electronic communications; complete physical description including

scars and tattoos; date of birth; social security number; residential address and a

physical description of the residence; name and address of any school the

registrant attends; description and license plate number of any vehicle used for

personal or employment use; telephone number; addresses of employment and


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volunteer positions; information related to any professional licenses; passport

information; a photocopy of any driver’s license or identification card;

fingerprints; and a photograph. I.C. § 18-8305(1)(a–p).

      27.    All registrants must pay their county sheriff $80 a year. I.C. § 18-

8307(2).

      28.    Registrants are prohibited from applying or obtaining employment

at a day care center, group day care facility, or family day care home. I.C. § 18-

8327(1). In fact, registrants are prohibited from being on premises of a day care

center, group day care facility, or family day care home while children are

present, other than to drop off or pick up their own child or children. Id.

      29.    Absent certain limited exceptions, registrants are prohibited from

living within five hundred of a school used by children. I.C. § 18-8329(1)(d).

      30.    Registrants are prohibited from picking up or dropping off their own

children at school absent prior notification and annual written approval of the

school. I.C. § 18-8329(2). School districts can impose stricter rules for registrants

who wish to pick up or drop off their children at school. I.C. § 18-8329(4).

      31.    The law mandates that every registrant register for their entire

lifetime, including people who registered for a conviction of Crime Against

Nature. I.C. § 18-8307(7).

      32.    The Idaho State Police disseminate information collected from each

registrant to the United States Attorney General, schools and public housing

agencies in the area where the registrant resides, volunteer organizations that

work with kids or vulnerable adults in the area where the registrant resides, and

anyone else who asks for information. I.C. § 18-8324(1).


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      33.    Failing to register is a felony punishable by up to 10 years and

$5,000. I.C. § 18-8311(1).

      34.    Doe is subject to all of the above restrictions as a result of an out-of-

state equivalent conviction for Crime Against Nature, I.C. § 18-6605—a statute

that is unconstitutional on its face.

      35.    Requiring Doe to register as a sex offender for a conviction for an

out-of-state substantial equivalent to Crime Against serves no legitimate

purpose. The mandate that he be subject to the harsh requirements of the sex

offender registry law is unjustifiable and unconstitutional.

Facts Specific to Doe

      36.    Doe has exactly one criminal conviction that the State relies on to

force him to register. Prior to the United States decision in Lawrence striking

down statutes criminalizing oral and anal sex, Doe was charged by information

in another state under that state’s Crime Against Nature statute. The entire

allegation against Doe in the charging document is that he committed a “crime

against nature on [his wife], to wit: oral sex.”

      37.    Doe pleaded guilty to having oral sex.

      38.    The state in which Doe pleaded guilty did not at the time and still

does not require people with convictions under the state’s Crime Against Nature

statute to register as sex offenders.

      39.    Earlier this year, Doe was released under supervision from the

Idaho Department of Corrections, where he had been serving a sentence for a

non-registrable offense. Although Lawrence v. Texas, 539 U.S. 558 (2003), had

been decided fifteen years before, his Idaho Department of Corrections case


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worker advised him that his Crime Against Nature conviction triggered the

requirement to register.

      40.     Doe suffers continuing harm as a result of the continued application

of Idaho’s Crime Against Nature statute, I.C. § 18-6605, and the registration

requirements imposed by I.C. § I.C. § 18-8304(1)(a) & (b).

                               First Cause of Action

                       Fourteenth Amendment: Due Process
                                42 U.S.C. § 1983

      41.     Doe incorporates by reference each and every allegation contained

in the preceding paragraphs as if set forth fully herein.

      42.     Doe brings this claim against all Defendants in their official

capacities.

      43.     Defendants’ maintenance, administration, and enforcement of the

registry law with respect to Doe violates Plaintiffs’ rights to due process under

the Fourteenth Amendment of the United States Constitution and the clear

mandate of Lawrence v. Texas.

      44.     All Defendants’ actions are under color of law and enabled by their

authority as state officers.

      45.     Doe has no adequate remedy at law or other effective means of

enforcing his Fourteenth Amendment right to due process other than by seeking

declaratory and injunctive relief from the Court.

      46.     Doe is entitled to declaratory relief in the form of this Court ruling

that Idaho Code § 18-6605 is facially unconstitutional and unenforceable in any

situation involving conduct between human beings.



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      47.    Doe is entitled to injunctive relief in the form of this Court enjoining

the Defendants from enforcing Idaho Code § 18-6605 in any situation involving

conduct between human beings.

      48.    Doe is entitled to declaratory relief in the form of this Court ruling

that Idaho Code § 18-6605 is unconstitutional and unenforceable as applied to

Doe’s prior conviction under another state’s Crime Against Nature statute.

      49.       Doe is entitled to injunctive relief in the form of this Court

enjoining Defendants from enforcing Idaho Code § 18-6605 as applied to Doe’s

conviction under another state’s Crime Against Nature statute.

      50.    Because Idaho Code § 18-6605 is unconstitutional, and because

Idaho Code §§ 18-8304(1)(a) and (b) are unconstitutional as to Crime Against

Nature convictions involving conduct between human beings, the Idaho Code

misleads and deceives law enforcement officers, other government actors, and

the general public about the requirements of the law. The publication of Idaho

Code §§ 18-6605 and 18-8304(1)(a) and (b) in the official Idaho Code without

clear notice stating that the law is unconstitutional and unenforceable coerces

compliance with the law despite its unconstitutionality and illegality and

promotes unconstitutional and illegal enforcement of the law by law enforcement

officers and other government actors.

      51.    The lack of fair notice of the unconstitutionality and

unenforceability of Idaho Code §§ 18-6605 and 18-8304(1)(a) and (b) in the Idaho

Code violates the due process clause of the Fourteenth Amendment to the U.S.

Constitution.

      52.    Doe is entitled to injunctive relief requiring defendants to publish


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clear notice in the official Idaho Code of the Act’s unconstitutionality and

unenforceability.

        53.   Doe is also entitled to a declaratory judgment declaring that official

publication of Idaho Code §§ 18-6605 and 18-8304(1)(a) and (b) without clear

notice of those provisions’ unconstitutionality and unenforceability is

unconstitutional.

        54.   As a result of Defendants’ unlawful conduct, Doe is suffering harm,

including embarrassment, humiliation, shame, fear, loss of opportunity

(including, but not limited to, career, professional, economic, housing,

educational, and social opportunities), and stigma.

                                Request for Relief

Doe respectfully requests an order and judgment:

   1.    Declaring that Idaho Code § 18-6605 is unconstitutional on its face as it

         relates to activity between human beings;

   2.    Declaring that the portion of Idaho Code § 18-8304(1)(a) which makes

         Crime Against Nature an offense subject to Idaho’s registration law, is

         facially unconstitutional insofar as it requires individuals convicted of

         Crime Against Nature involving activity between human beings to

         register as sex offenders;

   3.    Declaring Idaho Code § 18-8403(1)(b), which makes convictions from

         other jurisdictions which are substantial equivalents to a conviction for

         Idaho’s Crime Against Nature statute, is facially unconstitutional as to

         activity between human beings which makes Crime Against Nature an

         offense subject to Idaho’s registration law, is facially unconstitutional


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      insofar as it requires individuals convicted of a substantial equivalent of

      Idaho’s Crime Against Nature statute for activity between human beings

      to register as a sex offender;

4.    Declaring that Defendants’ actions violate the Doe’s rights under the

      Fourteenth Amendment to the United States Constitution;

5.    Declaring that official publication of Idaho Code § 18-6605 without clear

      notice of the provision’s unconstitutionality and unenforceability is

      unconstitutional;

6.    Preliminarily and permanently enjoining Defendants from enforcing

      Idaho Code § 18-6605 in any situation involving activity between human

      beings;

7.    Preliminarily and permanently enjoining Defendants from enforcing

      Idaho Code § 18-8304(1)(a) for people with conviction for Idaho’s Crime

      Against Nature statute, Idaho Code § 18-6605, for any situation

      involving activity between human beings;

8.    Preliminarily and permanently enjoining Defendants from enforcing

      Idaho Code § 18-8304(1)(a) in any situation in which a conviction in

      another jurisdiction is considered a substantial equivalent to Idaho’s

      Crime Against Nature statute, Idaho Code § 18-6605, in any situation

      involving activity between human beings;

9.    Preliminarily and permanently enjoining Defendants from requiring Doe

      to register as a sex offender in Idaho as to his prior conviction under

      another state’s Crime Against Nature statute;




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10. Preliminarily and permanently enjoining the individual members of the

    Idaho Code Commission and their employees, agents, appointees, and

    successors to publish clear notice about the unconstitutionality,

    unenforceability, and nullity of Idaho Code §§ 18-6605 and 18-8304(1)(a)

    and (b);

11. Ordering Defendants to permanently remove Doe from the Idaho Sex

    Offender Registry;

12. Ordering Defendants to expunge all state records indicating that Doe

    was registered on the Idaho Sex Offender Registry;

13. Ordering Defendants to alert all agencies who were provided information

    about Doe’s registration (including courts, police departments, sheriff’s

    departments, and the Federal Bureau of Investigation) that this

    information is no longer valid;

14. Ordering Defendants to cease and desist from placing any individuals

    convicted under the Crime Against Nature statute or conviction from

    another jurisdiction deemed to be a substantial equivalent to a Crime

    Against Nature conviction in any situation involving activity between

    human beings on the Idaho Sex Offender Registry;

15. Ordering Defendants to inform all relevant local, state, and federal

    agencies that convictions for Crime Against Nature in any situation

    involving activity between human beings or any conviction from another

    jurisdiction deemed to be a substantial equivalent to a Crime Against

    Nature conviction for activity between human beings are no longer

    registrable offenses in Idaho;


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   16. Waiving the requirement for the posting of a bond as security for entry of

       temporary or preliminary injunctive relief;

   17. Awarding Plaintiff his costs, expenses, and reasonable attorneys’ fees

       pursuant to 42 U.S.C. § 1988 and other applicable laws; and

   18. Ordering such other relief as this Court deems just and proper.


Date: 9/23/2020          Respectfully submitted,

                         /s/ Richard Eppink
                         Richard Eppink
                         AMERICAN CIVIL LIBERTIES UNION OF IDAHO
                         FOUNDATION


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